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11
                            IN THE UNITED STATES DISTRICT COURT
12
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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15    RALPH COLEMAN, et al.,                              CASE NO. CIV S-90-0520 LKK JFM P

16                                          Plaintiffs,   DEFENDANTS’ REPORT ON THE
                                                          STATUS OF MENTAL HEALTH
17                  v.                                    VACANCIES AT CALIFORNIA
                                                          STATE PRISON, CORCORAN
18    ARNOLD SCHWARZENEGGER, et al.,

19                                       Defendants.

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21                 In response to the court order of March 9, 2006, Defendants respectfully submit

22 the attached report concerning the vacancy rate as of May 15, 2006 for each category of mental

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     DEF. CORCORAN VACANCY REPORT
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 1 health personnel at California State Prison, Corcoran. (Ex. A, Report.)

 2                  Dated: May 22, 2006

 3                                        Respectfully submitted,

 4                                        BILL LOCKYER
                                          Attorney General of the State of California
 5                                        JAMES M. HUMES
                                          Chief Assistant Attorney General
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10                                        /s/ Lisa Tillman
                                          LISA A. TILLMAN
11                                        Deputy Attorney General
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     DEF. CORCORAN VACANCY REPORT
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                       DECLARATION OF SERVICE BY U.S. MAIL

Case Name:      Coleman v. Schwarzenegger, et al.

No.:           CIV S-90-0520 LKK JFM P

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age and
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service that same day in the ordinary course of business.

On May 22, 2006, I served the attached Defendants’ Report on the Status of Mental Health
Vacancies at California State Prison, Corcoran, by placing a true copy thereof enclosed in a
sealed envelope with postage thereon fully prepaid, in the internal mail collection system at the
Office of the Attorney General at 1300 I Street, Suite 125, P.O. Box 944255, Sacramento, CA
94244-2550, addressed as follows:

Pete Cockeroft, H-86887
California State Prison, Sacramento
FA2-205 - H86887
P.O. Box 290066
Represa, CA 95671-0066

Kimberly S. Davenport
California Medical Association
221 Main Street
San Francisco CA 94105



I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on May 22, 2006, at Sacramento, California.


               A. Buckley                                    /s/ A Buckley
               Declarant                                     Signature
30121290.wpd
